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       EXHIBIT 3
4/7/25, 8:42 PM     Case 1:25-cv-00916-JDB              Document
                            Elon Musk on X: "Which law firms are pushing19-6       Filed 04/08/25
                                                                        these anti-democratic               Page
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                                                                                                                                                 Creat
                                                   LAWFARE: Democrat judges across the country are working with Democrat
                                                   AGs and NGOs to either block/delay president Trump's EOs aimed at reducing
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                                                   from MA ordering Trump to restore DEI funding to the NIH.




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